Case 2:10-md-02179-CJB-DPC Document 492-1 Filed 10/07/10 Page1of1

AFFIDAVIT OF FRANCIS E. MCGOVERN
TENDERED PURSUANT TO FED. R. CIV. P. 53

State of Louisiana

Parish of Orleans

I have thoroughly familiarized myself with the parties and issues involved in MDL-2179 In Re:
Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico on April 20, 2010. As a result of my
knowledge of this case, I can attest and affirm that there are no grounds for disqualification under 28

U.S.C. §455 that would prevent me from serving as a Special Master in this matter.

Qi nds

Signature of Affiant

FURTHER AFFIANT SAYETH NAUGHT.

Francis E. McGovern
Affiant’s Name —- PRINTED

Sworn to apd subscribed before me this CE in of Oct bor , 20 / O .

q

US: DISTRICT TU0bE

Printed Name:

Notary or Bar Roll Number: Commission expires:

